                                  Case 16-20274-AJC                           Doc 1        Filed 07/25/16       Page 1 of 60
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF FLORIDA

 Case number (if known):                                                Chapter you are filing under:
                                                                              Chapter 7
                                                                              Chapter 11
                                                                              Chapter 12
                                                                                                                                     Check if this is an
                                                                              Chapter 13
                                                                                                                                     amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For
example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about
the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for



 Part 1:           Identify Yourself
                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
      Write the name that is on
      your
                                           Monica
                                           First Name                                                   First Name
      government-issued
      picture
                                           Middle Name                                                  Middle Name
      identification (for example,
      your driver's license or             Andres
      passport).                           Last Name                                                    Last Name


      Bring your picture                   Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)



2.    All other names you
      have used in the last 8              First Name                                                   First Name
      years
                                           Middle Name                                                  Middle Name
      Include your married or
      maiden names.
                                           Last Name                                                    Last Name



3.    Only the last 4 digits of
      your Social Security                 xxx – xx –                     2       3        6     2      xxx – xx –
      number or federal
                                           OR                                                           OR
      Individual Taxpayer
      Identification number                9xx – xx –                                                   9xx – xx –
      (ITIN)


4.    Any business names                            I have not used any business names or EINs.                  I have not used any business names or EINs.
      and Employer
      Identification Numbers
                                           Business name                                                Business name
      (EIN) you have used in
      the last 8 years
                                           Business name                                                Business name
      Include trade names and
      doing business as
                                           Business name                                                Business name




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               Monica
                                 Case 16-20274-AJCAndres
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Debtor 1                                                                                          Case number (if known)
               First Name            Middle Name                   Last Name


                                          About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
                                                          –                                                         –
                                          EIN                                                         EIN

                                                          –                                                         –
                                          EIN                                                         EIN

5.   Where you live                                                                                   If Debtor 2 lives at a different address:

                                          1055 SW 89 Ave
                                          Number          Street                                      Number        Street




                                          Miami                            FL         33174
                                          City                             State      ZIP Code        City                           State      ZIP Code

                                          Miami-Dade
                                          County                                                      County


                                          If your mailing address is different from                   If Debtor 2's mailing address is different
                                          the one above, fill it in here.
                                                                       Note that the                  from yours, fill it in here.
                                                                                                                                Note that the court
                                          court will send any notices to you at this                  will send any notices to you at this mailing
                                          mailing address.                                            address.

                                          1055 SW 89 Ave
                                          Number          Street                                      Number        Street



                                          P.O. Box                                                    P.O. Box

                                          Miami                            FL         33174
                                          City                             State      ZIP Code        City                           State      ZIP Code



6.   Why you are choosing                 Check one:                                                  Check one:
     this district to file for
                                                   Over the last 180 days before filing                      Over the last 180 days before filing
     bankruptcy
                                                   this                                                      this
                                                   petition, I have lived in this district                   petition, I have lived in this district

                                                   I have another reason. Explain.                           I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)


 Part 2:         Tell the Court About Your Bankruptcy Case

7.   The chapter of the                 Check one:(For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                       Chapter 7

                                                 Chapter 11

                                                 Chapter 12

                                                 Chapter 13




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                   Monica
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Debtor 1                                                                                           Case number (if known)
                   First Name       Middle Name                Last Name

8.    How you will pay the fee               I will pay the entire fee when I file my petition.
                                                                                           Please check with the clerk's office in your local
                                             court for more details about how you may pay. Typically, if you are paying the fee yourself,
                                             you may
                                             pay with cash, cashier's check, or money order. If your attorney is submitting your


                                             I need to pay the fee in installments.
                                                                                  If you choose this option, sign and attach the Application for
                                             Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived
                                                                          (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your
                                             income is less
                                             than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the



9.    Have you filed for                     No
      bankruptcy within the
      last 8 years?                          Yes.

                                       District                                                        When                        Case number
                                                                                                               MM / DD / YYYY

                                       District                                                        When                        Case number
                                                                                                               MM / DD / YYYY

                                       District                                                        When                        Case number
                                                                                                               MM / DD / YYYY

10.   Are any bankruptcy                     No
      cases pending or being
      filed by a spouse who is               Yes.
      not filing this case with
                                       Debtor                                                                        Relationship to you
      you, or by a business
      partner, or by an                District                                                        When                        Case number,
      affiliate?                                                                                               MM / DD / YYYY      if known

                                       Debtor                                                                        Relationship to you

                                       District                                                        When                        Case number,
                                                                                                               MM / DD / YYYY      if known

11.   Do you rent your                       No. Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you and do you want to
                                                       stay in your

                                                             No. Go to line 12.
                                                             Yes. Fill out Initial Statement About an Eviction Judgment Against You
                                                             (Form 101A)




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                page 3
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                                   Case 16-20274-AJCAndres
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Debtor 1                                                                                      Case number (if known)
                First Name             Middle Name             Last Name


 Part 3:          Report About Any Businesses You Own as a Sole Proprietor

12.   Are you a sole proprietor                 No. Go to Part 4.
      of any full- or part-time                 Yes. Name and location of business
      business?

      A sole proprietorship is a
                                                      Name of business, if any
      business you operate as
      an
                                                      Number       Street
      individual, and is not a
      separate legal entity such
      as
      a corporation, partnership,
      or                                              City                                                 State           ZIP Code
      LLC.
                                                      Check the appropriate box to describe your business:
      If you have more than one
                                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                             None of the above

13.   Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                   can set appropriate deadlines.If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
      are you asmall business             or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor?
                                                No.   I am not filing under Chapter 11.

      For a definition of small
                                                No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      business debtor, see
                                                      the Bankruptcy Code.
      11 U.S.C. § 101(51D).
                                                Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                     Bankruptcy Code.

 Part 4:          Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.   Do you own or have any                    No
      property that poses or is                 Yes. What is the hazard?
      alleged to pose a threat
      of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own                           If immediate attention is needed, why is it needed?
      any property that needs

      For example, do you own
      perishable goods, or
      livestock that must be fed,                     Where is the property?
                                                                                 Number   Street
      or
      a building that needs



                                                                                 City                                  State          ZIP Code




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                            page 4
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                              Case 16-20274-AJCAndres
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Debtor 1                                                                                    Case number (if known)
                 First Name       Middle Name                 Last Name


 Part 5:           Explain Your Efforts to Receive a Briefing About Credit Counseling
15.   Tell the court            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
      whether you have
                                You must check one:                                          You must check one:
      received briefing
      about credit                I received a briefing from an approved credit                 I received a briefing from an approved credit
      counseling.                 counseling agency within the 180 days                         counseling agency within the 180 days
                                  before                                                        before
      The law requires
                                  I filed this bankruptcy petition, and I received              I filed this bankruptcy petition, and I received
      that
                                  Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
      you receive a
                                  plan, if any, that you developed with the                     plan, if any, that you developed with the
      briefing
      about credit
                                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      counseling
                                  counseling agency within the 180 days                         counseling agency within the 180 days
      before you file for
                                  before                                                        before
      bankruptcy. You
                                  I filed this bankruptcy petition, but I do not                I filed this bankruptcy petition, but I do not
      must
                                  Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy
      truthfully check one
                                  petition,                                                     petition, you MUST file a copy of the certificate
      of
                                  you MUST file a copy of the certificate and                   and payment plan, if any.
      the following
      choices.                    I certify that I asked for credit counseling                  I certify that I asked for credit counseling
      If you cannot do so,        services from an approved agency, but was                     services from an approved agency, but was
      you are not eligible        unable to obtain those services during the 7                  unable to obtain those services during the 7
      to                          days after I made my request, and exigent                     days after I made my request, and exigent
      file.                       circumstances merit a 30-day temporary                        circumstances merit a 30-day temporary
                                  waiver of the requirement.                                    waiver of the requirement.

                                  To ask for a 30-day temporary waiver of the                   To ask for a 30-day temporary waiver of the
                                  requirement, attach a separate sheet                          requirement, attach a separate sheet
                                  explaining                                                    explaining
                                  what efforts you made to obtain the briefing,                 what efforts you made to obtain the briefing,
                                  why                                                           why
                                  you were unable to obtain it before you filed for             you were unable to obtain it before you filed for
                                  bankruptcy, and what exigent circumstances                    bankruptcy, and what exigent circumstances
                                  required you to file this case.                               required you to file this case.


                                  Your case may be dismissed if the court is                    Your case may be dismissed if the court is
                                  dissatisfied with your reasons for not receiving              dissatisfied with your reasons for not receiving
                                  a                                                             a
                                  briefing before you filed for bankruptcy.                     briefing before you filed for bankruptcy.


                                  If the court is satisfied with your reasons, you              If the court is satisfied with your reasons, you
                                  must                                                          must
                                  still receive a briefing within 30 days after you             still receive a briefing within 30 days after you
                                  file.                                                         file.
                                  You must file a certificate from the approved                 You must file a certificate from the approved
                                  agency, along with a copy of the payment plan                 agency, along with a copy of the payment plan


                                  I am not required to receive a briefing about                 I am not required to receive a briefing about
                                  credit counseling because of:                                 credit counseling because of:

                                          Incapacity.    I have a mental illness or a                   Incapacity.    I have a mental illness or a
                                                         mental                                                        mental
                                                         deficiency that makes me                                      deficiency that makes me
                                                         incapable of realizing or                                     incapable of realizing or

                                          Disability.    My physical disability causes                  Disability.    My physical disability causes
                                                         me                                                            me
                                                         to be unable to participate in a                              to be unable to participate in a
                                                         briefing in person, by phone,                                 briefing in person, by phone,
                                                         or                                                            or

                                          Active duty. I am currently on active military                Active duty. I am currently on active military
                                                         duty in a military combat zone.                               duty in a military combat zone.
                                  If you believe you are not required to receive a              If you believe you are not required to receive a
                                  briefing about credit counseling, you must file a             briefing about credit counseling, you must file a
                                  motion for waiver of credit counseling with the               motion for waiver of credit counseling with the


Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 5
               Monica
                               Case 16-20274-AJCAndres
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Debtor 1                                                                                             Case number (if known)
               First Name            Middle Name              Last Name


 Part 6:          Answer These Questions for Reporting Purposes
16.   What kind of debts do you         16a. Are your debts primarily consumer debts?     Consumer debtsare defined in 11 U.S.C. § 101(8)
      have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                  No. Go to line 16b.
                                                  Yes. Go to line 17.
                                        16b. Are your debts primarily business debts? Business debtsare debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer or business debts.


17.   Are you filing under
      Chapter 7?                              No.      I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and
      administrative expenses                                No
      are paid that funds will be
                                                             Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   1-49                                    1,000-5,000                                25,001-50,000
      you estimate that you                   50-99                                   5,001-10,000                               50,001-100,000
      owe?
                                              100-199                                 10,001-25,000                              More than 100,000
                                              200-999

19.   How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to                 $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?
                                              $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion

20.   How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your liabilities to            $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be?
                                              $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion

 Part 7:          Sign Below
For you                                 I have examined this petition, and I declare under penalty of perjury that the information
                                        provided is true
                                        and correct.


                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under
                                        Chapter 7, 11, 12,
                                        or 13 of title 11, United States Code. I understand the relief available under each chapter, and
                                        I choose to
                                        proceed under Chapter 7.


                                        If no attorney represents me and I did not pay or agree to pay someone who is an attorney to
                                        help me fill
                                        out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).


                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this


                                        X /s/ Monica Andres                                                  X
                                            Signature of Debtor 1                                                Signature of Debtor 2

                                            Executed on07/25/2016                                                Executed on
                                                       MM / DD / YYYY                                                       MM / DD / YYYY



Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
                Monica
                                Case 16-20274-AJCAndres
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Debtor 1                                                                                            Case number (if known)
                First Name          Middle Name              Last Name

For your attorney, if you are          I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s)
represented by one                     about
                                       eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have
If you are not represented by          explained the
an attorney, you do not need           relief available under each chapter for which the person is eligible. I also certify that I have
to file this page.                     delivered to



                                       X /s/ Francisco J. Aguero, Esq.                                                  Date 07/25/2016
                                           Signature of Attorney for Debtor                                                  MM / DD / YYYY

                                           Francisco J. Aguero, Esq.
                                           Printed name
                                           Investors' Law Group, LLC
                                           Firm Name
                                           2655 Le Jeune Road
                                           Number       Street
                                           PHI-D




                                           Coral Gables                                                         FL                 33134
                                           City                                                                 State              ZIP Code


                                           Contact phone (305) 860-0444                             Email addressfja@aguerolaw.com

                                           192562
                                           Bar number                                                           State




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
                              Case 16-20274-AJC                    Doc 1          Filed 07/25/16            Page 8 of 60
 Fill in this information to identify your case and this filing:
 Debtor 1             Monica                                          Andres
                      First Name              Middle Name             Last Name


 Debtor 2
 (Spouse, if filing)First Name                Middle Name             Last Name


                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
 Case number                                                                                                                  Check if this is an
 (if known)
                                                                                                                              amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every


 Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                 What is the property?                             Do not deduct secured claims or exemptions. Put th
Timeshare Property                                   Check all that apply.                                                       Schedule
                                                                                                       amount of any secured claims on D:
Starwood Vacation Properties                           Single-family home                              Creditors Who Have Claims Secured by Property.
Orlando FL                                             Duplex or multi-unit building                   Current value of the           Current value of the
                                                       Condominium or cooperative                      entire property?               portion you own?
                                                       Manufactured or mobile home                                  $15,000.00                  $15,000.00
                                                       Land
                                                       Investment property                             Describe the nature of your ownership
County                                                 Timeshare                                       interest (such as fee simple, tenancy by the
                                                       OtherTime Share                                 entireties, or a life estate), if known.
                                                                                                       Fee Simple
                                                     Who has an interest in the property?
                                                     Check one.
                                                       Debtor 1 only                       Check if this is community property
                                                       Debtor 2 only                       (see instructions)
                                                       Debtor 1 and Debtor 2 only
                                                       At least one of the debtors and another
                                                     Other information you wish to add about this item, such as local
                                                     property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here............................................................. $15,000.00

 Part 2:         Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered  Include
                                                                                                        or not?
                                                                                                             any vehicles
you own that someone else drives. If you lease a vehicle, also report Schedule
                                                                      it on    G: Executory Contracts and Unexpired Leases.

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                             Schedule A/B: Property                                                              page 1
                           Case 16-20274-AJC                 Doc 1        Filed 07/25/16           Page 9 of 60
Debtor 1     Monica                                      Andres                          Case number (if known)
             First Name            Middle Name           Last Name


3.1.                                             Who has an interest in the property? Do not deduct secured claims or exemptions. Put th
Make:                                            Check one.                                                      Schedule
                                                                                      amount of any secured claims   on D:
                                                   Debtor 1 only                      Creditors Who Have Claims Secured by Property.
Model:
                                                     Debtor 2 only                    Current value of the                 Current value of the
Year:                                                                                 entire property?                     portion you own?
                                                     Debtor 1 and Debtor 2 only
Approximate mileage:                                 At least one of the debtors and another    $13,442.00                            $13,442.00
Other information:
2006 Mercedes CLS 500                                Check if this is community property
Value as per KBB                                     (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples:Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here............................................................. $13,442.00

 Part 3:       Describe Your Personal and Household Items
                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                           portion you own?
                                                                                                                           Do not deduct secured
                                                                                                                           claims or exemptions.
6.   Household goods and furnishings
     Examples:Major appliances, furniture, linens, china, kitchenware
         No
         Yes. Describe............

7.   Electronics
     Examples:Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
               music collections; electronic devices including cell phones, cameras, media players, games
         No
         Yes. Describe............

8.   Collectibles of value
     Examples:Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
         No
         Yes. Describe............

9.   Equipment for sports and hobbies
     Examples:Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
              canoes and kayaks; carpentry tools; musical instruments
         No
         Yes. Describe............

10. Firearms
    Examples:Pistols, rifles, shotguns, ammunition, and related equipment
         No
         Yes. Describe............

11. Clothes
    Examples:Everyday clothes, furs, leather coats, designer wear, shoes, accessories
         No
         Yes. Describe............




Official Form 106A/B                                        Schedule A/B: Property                                                          page 2
                              Case 16-20274-AJC                         Doc 1           Filed 07/25/16                 Page 10 of 60
Debtor 1       Monica                                                Andres                                 Case number (if known)
               First Name                 Middle Name                Last Name

12. Jewelry
    Examples:Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
          No
          Yes. Describe............

13. Non-farm animals
    Examples:Dogs, cats, birds, horses
          No
          Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
          No
          Yes. Give specific
          information......................
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                                   $0.00
    attached for Part 3. Write the number here.......................................................................................................................

 Part 4:         Describe Your Financial Assets
                                                                                                                                                     Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                          portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
16. Cash
    Examples:Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
             petition
          No
                                                                                                                                                                      $300.00
          Yes.....................................................................................................................................................................................
                                                                                                                     Cash: ...........................................
               Cash on Hand. Amt: $50.00




17. Deposits of money
    Examples:Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
             brokerage houses, and other similar institutions. If you have multiple accounts with the same
             institution, list each.
          No
          Yes..............................         Institution name:

           17.1. Checking account:                  Suntrust Bank
                                                    Account # 1000043853463
                                                                                                                                                                      $600.00

           17.2. Checking account:                  BB&T Bank


                                                    Business Account # 1100004761098
                                                                                                                                                                      $220.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples:Bond funds, investment accounts with brokerage firms, money market accounts
          No
          Yes..............................
                                     Institution or issuer name:




Official Form 106A/B                                                    Schedule A/B: Property                                                                            page 3
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Debtor 1    Monica                                             Andres                            Case number (if known)
            First Name                Middle Name              Last Name

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
        No
        Yes. Give specific
        information about
        them...............................................
                                   Name of entity:                                                          % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments
                         include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instrumentsare those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific
        information about
        them...............................................
                                   Issuer name:
21. Retirement or pension accounts
    Examples:Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
             profit-sharing plans
        No
        Yes. List each
        account separately.
                         Type of account: Institution name:
                                                      401K
                                  401(k) or similar plan:
                                                              Charles Schwab Acct No 5103-3978                                $31,000.00

                                  IRA:                                                                                          $100.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples:Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
        No
        Yes..............................                Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
        No
        Yes..............................
                                   Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes..............................
                                   Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
        No
        Yes. Give specific
        information about them
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples:Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific
        information about them
27. Licenses, franchises, and other general intangibles
    Examples:Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific
        information about them




Official Form 106A/B                                              Schedule A/B: Property                                           page 4
                             Case 16-20274-AJC                      Doc 1         Filed 07/25/16               Page 12 of 60
Debtor 1       Monica                                            Andres                              Case number (if known)
               First Name               Middle Name              Last Name

Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                                          Federal:                    $0.00
          about them, including whether
                                                                                                                                  State:                      $0.00
          you already filed the returns
          and the tax years.....................................                                                                  Local:                      $0.00

29. Family support
    Examples:Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
          No
          Yes. Give specific information                                                                            Alimony:                                  $0.00

                                                                                                                    Maintenance:                              $0.00

                                                                                                                    Support:                                  $0.00

                                                                                                                    Divorce settlement:                       $0.00

                                                                                                                    Property settlement:                      $0.00

30. Other amounts someone owes you
    Examples:Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
             compensation, Social Security benefits; unpaid loans you made to someone else
          No
          Yes. Give specific information

31. Interests in insurance policies
    Examples:Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
          No
          Yes. Name the insurance
          company of each policy
          and list its value................
                                        Company name:                                            Beneficiary:                   Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
          No
          Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples:Accidents, employment disputes, insurance claims, or rights to sue
          No
          Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
          No
          Yes. Describe each claim..............

35. Any financial assets you did not already list

          No
          Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                          $32,220.00
    attached for Part 4. Write that number here.......................................................................................................................




Official Form 106A/B                                                Schedule A/B: Property                                                                     page 5
                              Case 16-20274-AJC                      Doc 1         Filed 07/25/16               Page 13 of 60
Debtor 1       Monica                                            Andres                               Case number (if known)
               First Name               Middle Name              Last Name


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.
                                                                                                                                             Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples:Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
              desks, chairs, electronic devices
          No
          Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe................

41. Inventory

          No
          Yes. Describe................

42. Interests in partnerships or joint ventures

          No
          Yes. Describe................
                        Name of entity:                                                                               % of ownership:
43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information
                                                                   (as defined in 11 U.S.C. § 101(41A))?
                  No
                  Yes. Describe..............

44. Any business-related property you did not already list

          No
          Yes. Give specific information.
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
                                                                                                                                                                   $0.00
    attached for Part 5. Write that number here.......................................................................................................................

 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.




Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 6
                              Case 16-20274-AJC                      Doc 1         Filed 07/25/16               Page 14 of 60
Debtor 1       Monica                                            Andres                               Case number (if known)
               First Name               Middle Name              Last Name

                                                                                                                                             Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
47. Farm animals
    Examples:Livestock, poultry, farm-raised fish
          No
          Yes............................

48. Crops--either growing or harvested

          No
          Yes. Give specific
          information..........................
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes..............................

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

          No
          Yes. Give specific
          information..........................
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
                                                                                                                                                                   $0.00
    attached for Part 6. Write that number here.......................................................................................................................

 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples:Season tickets, country club membership

          No
          Yes. Give specific information.

54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                            $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 7
                               Case 16-20274-AJC                          Doc 1           Filed 07/25/16                Page 15 of 60
Debtor 1        Monica                                                Andres                                 Case number (if known)
                First Name                 Middle Name                Last Name


  Part 8: List the Totals of Each Part of this Form

                                                                                                                                                                       $15,000.00
55. Part 1: Total real estate, line 2..............................................................................................................................................

56. Part 2: Total vehicles, line 5                                                                   $13,442.00

57. Part 3: Total personal and household items, line 15                                                      $0.00

58. Part 4: Total financial assets, line 36                                                          $32,220.00

59. Part 5: Total business-related property, line 45                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                $0.00

61. Part 7: Total other property not listed, line 54                                  +                      $0.00

                                                                                                                         Copy personal
62. Total personal property.Add lines 56 through 61.................................$45,662.00                           property total             +              $45,662.00



63. Total of all property on Schedule A/B.                                                                                                          $60,662.00
                                         Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                     Schedule A/B: Property                                                                            page 8
                             Case 16-20274-AJC                   Doc 1           Filed 07/25/16            Page 16 of 60
 Fill in this information to identify your case:
 Debtor 1             Monica                                         Andres
                      First Name             Middle Name             Last Name

 Debtor 2
 (Spouse, if filing)First Name               Middle Name             Last Name

                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:                                                                                    Check if this is an
 Case number                                                                                                                amended filing
 (if known)



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying c
                            Schedule
Using the property you listed  on    A/B: Property
                                                (Official Form 106A/B) as your source, list the property that you claim as exempt.
space is needed, fill out and attach to this page as many  Part 2: Additional
                                                            copies   of       Pageas necessary. On the top of any additional pages,
write your name and case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing
so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2.   For any property you list on
                               Schedule A/Bthat you claim as exempt, fill in the information below.

Brief description of the property and line on              Current value of       Amount of the                  Specific laws that allow exemption
Schedule A/Bthat lists this property                       the portion you        exemption you claim
                                                           own

                                                           Copy the value fromCheck only one box
                                                           Schedule A/B       for



Brief description                                              $13,442.00                        $0.00
2006 Mercedes CLS 500                                                                   100% of fair
Value as per KBB                                                                        market
Line fromSchedule A/B:             3.1                                                  value, up to any


Brief description                                                $50.00
Cash on Hand                                                                            100% of fair
Line fromSchedule A/B:             16                                                   market
                                                                                        value, up to any




3. Are you claiming a homestead exemption of more than $155,675?
Official Form 106C                       Schedule C: The Property You Claim as Exempt                                                                 page 1
     (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
               No
               Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                         page 1
                          Case 16-20274-AJC                  Doc 1        Filed 07/25/16           Page 17 of 60
Debtor 1     Monica                                       Andres                         Case number (if known)
             First Name            Middle Name            Last Name



 Part 2:        Additional Page
Brief description of the property and line on          Current value of    Amount of the              Specific laws that allow exemption
Schedule A/Bthat lists this property                   the portion you     exemption you claim
                                                       own

                                                       Copy the value fromCheck only one box
                                                       Schedule A/B       for

Brief description                                            $250.00                                  Fla. Const. art. X, § 4(a)(2)
Assorted Clothing and Shoes                                                     100% of fair

Line fromSchedule A/B:        16                                                market
                                                                                value, up to any


Brief description                                            $600.00
Suntrust Bank                                                                   100% of fair
Account # 1000043853463                                                         market
Personal Checking Account
                                                                                value, up to any
Line fromSchedule A/B: 17.1

Brief description                                            $220.00                                  Fla. Const. art. X, § 4(a)(2)
BB&T Bank                                                                       100% of fair
                                                                                market
                                                                                value, up to any
Line fromSchedule A/B: 17.2

Brief description                                            $100.00                                  Fla. Stat. Ann. § 222.21(2)
IRA                                                                             100% of fair

Line fromSchedule A/B:        21                                                market
                                                                                value, up to any


Brief description                                          $31,000.00                                 Fla. Stat. Ann. § 222.21(2)
401K                                                                            100% of fair
Charles Schwab Acct No 5103-3978                                                market
Line fromSchedule A/B:        21                                                value, up to any




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                              page 2
                               Case 16-20274-AJC                     Doc 1         Filed 07/25/16           Page 18 of 60
  Fill in this information to identify your case:
  Debtor 1              Monica                                         Andres
                        First Name             Middle Name             Last Name


  Debtor 2
  (Spouse, if filing)First Name                Middle Name             Last Name


                                      SOUTHERN DISTRICT OF FLORIDA
  United States Bankruptcy Court for the:
  Case number                                                                                                                    Check if this is an
  (if known)
                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this


1.    Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this
            Yes. Fill in all of the information below.

  Part 1:            List All Secured Claims

2.    List all secured claims.
                            If a creditor has more than one secured
      claim, list the creditor separately for each claim. If more                            Column A           Column B                        Column C
      than one                                                                               Amount of claim Value of collateral                Unsecured
      creditor has a particular claim, list the other creditors in                           Do not deduct thethat supports this                portion
                                                                                             value of collateralclaim                           If any
                                                   Describe the property that
 2.1                                                                                                $21,060.00                   $13,442.00            $7,618.00
                                                   secures the claim:
Santander Consumer Usa                             2006 Mercedes
Creditor's name
Po Box 961245
Number      Street



                                          As of the date you file, the claim Check
                                                                               is:  all that apply.
                                             Contingent
Ft Worth              TX 76161               Unliquidated
City                  State ZIP Code
                                             Disputed
Who owes the debt?Check one.              Nature of lien.Check all that apply.
     Debtor 1 only
                                             An agreement you made (such as mortgage or secured car loan)
     Debtor 2 only
                                             Statutory lien (such as tax lien, mechanic's lien)
     Debtor 1 and Debtor 2 only
                                             Judgment lien from a lawsuit
     At least one of the debtors and another
                                             Other (including a right to offset)
     Check if this claim relates             Automobile
     to a community debt
Date debt was incurred01/2014                      Last 4 digits of account number 1               0    0     0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                   $21,060.00

Official Form 106D                       Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1
                                       Case 16-20274-AJC                  Doc 1       Filed 07/25/16          Page 19 of 60
Debtor 1          Monica                                               Andres                       Case number (if known)
                  First Name                   Middle Name             Last Name



                     Additional Page                                                             Column A           Column B           Column C
  Part 1:            After listing any entries on this page, number them                         Amount of claim Value of collateral   Unsecured
                     sequentially from the previous page.                                        Do not deduct thethat supports this   portion
                                                                                                 value of collateralclaim              If any

  2.2                                                        Describe the property that
                                                             secures the claim:                       $18,395.00              $0.00       $18,395.00
Timepayment Corp Llc                                         Computer Leasing
Creditor's name
16 New England Executive Office Park S.
Number      Street


                                                             As of the date you file, the claim Check
                                                                                                is:   all that apply.
                                                                Contingent
Burlington                     MA       01803                   Unliquidated
City                           State    ZIP Code
                                                                Disputed
Who owes the debt?Check one.           Nature of lien.Check all that apply.
  Debtor 1 only
                                          An agreement you made (such as mortgage or secured car loan)
  Debtor 2 only
                                          Statutory lien (such as tax lien, mechanic's lien)
  Debtor 1 and Debtor 2 only
                                          Judgment lien from a lawsuit
  At least one of the debtors and another
                                          Other (including a right to offset)
  Check if this claim relates             Rental Agreement
  to a community debt
Date debt was incurred04/2014                                Last 4 digits of account number 8       0    8    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                     $18,395.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                                    $39,455.00

Official Form 106D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2
                            Case 16-20274-AJC                   Doc 1           Filed 07/25/16           Page 20 of 60
 Fill in this information to identify your case:
 Debtor 1            Monica                                         Andres
                     First Name             Middle Name             Last Name


 Debtor 2
 (Spouse, if filing)First Name              Middle Name             Last Name


                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
 Case number                                                                                                              Check if this is an
 (if known)
                                                                                                                          amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property(Official Form 106A/B) and on
                                                     Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed
                                                                     Schedule
                                                                           in D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
2.   List all of your priority unsecured claims.
                                             If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts,
     list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to


     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                           Total claim      Priority                       Nonpriority
                                                                                                            amount                         amount




Official Form 106E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1
                              Case 16-20274-AJC                   Doc 1         Filed 07/25/16             Page 21 of 60
Debtor 1         Monica                                        Andres                            Case number (if known)
                 First Name              Middle Name           Last Name



  Part 2:           List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with you other schedules.
             Yes
4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each
       claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,

                                                                                                                                 Total claim

     4.1                                                                                                                           $2,522.00
American Express                                             Last 4 digits of account number1               0    9     3
Nonpriority Creditor's Name
PO Box 3001                                                  When was the debt incurred?07/2007
Number         Street                                        As of the date you file, the claim Check
                                                                                                is:   all that apply.
16 General Warren Blvd                                          Contingent
                                                                Unliquidated
                                                                Disputed
Malvern                          PA       19355
City                             State    ZIP Code
                                               Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                  Student loans
  Debtor 1 only
                                                  Obligations arising out of a separation agreement or divorce
  Debtor 2 only
                                                  that you did not report as priority claims
  Debtor 1 and Debtor 2 only                      Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another         Other. Specify
    Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

     4.2                                                                                                                          $28,250.21
C.A.N. Capital Asset Servicing, Inc.                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
Number         Street                                        As of the date you file, the claim Check
                                                                                                is:   all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City                             State    ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   New Logic Business Loan
Is the claim subject to offset?
    No
    Yes
Business Loan Agreement between Webank and Carousel Fruits and Produce, LLC dated April 18, 2014




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     page 2
                              Case 16-20274-AJC             Doc 1      Filed 07/25/16         Page 22 of 60
Debtor 1         Monica                                  Andres                       Case number (if known)
                 First Name            Middle Name       Last Name



  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                      Total claim
previous page.

   4.3                                                                                                                  $2,558.00
Capital One                                             Last 4 digits of account number6       2   9    0
Nonpriority Creditor's Name
Attn: Bankruptcy                                        When was the debt incurred?09/2007
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
PO Box 30285                                               Contingent
                                                           Unliquidated
                                                           Disputed
Salt Lake City                 UT       84130
City                           State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                Student loans
  Debtor 1 only
                                                Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another       Other. Specify
  Check if this claim is for a community debt   Charge Account
Is the claim subject to offset?
    No
    Yes

   4.4                                                                                                                  $4,469.29
Capital One Bank (USA) N.A.                             Last 4 digits of account number9       9   3    8
Nonpriority Creditor's Name
                                                        When was the debt incurred?
P.O. Box 71083
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Charlotte                      NC       28272-1083
City                           State    ZIP Code
                                               Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                  Student loans
  Debtor 1 only                                   Obligations arising out of a separation agreement or divorce
  Debtor 2 only
                                                  that you did not report as priority claims
  Debtor 1 and Debtor 2 only                      Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                  Other. Specify
    Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

   4.5                                                                                                                  $4,814.24
Citi Cards                                              Last 4 digits of account number5       2   3    6
Nonpriority Creditor's Name
PO Box 9001037                                          When was the debt incurred?
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Lousville                      KY       40290-1037
City                           State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                Student loans
  Debtor 1 only
                                                Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another       Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes


Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                            page 3
                              Case 16-20274-AJC             Doc 1      Filed 07/25/16         Page 23 of 60
Debtor 1         Monica                                  Andres                       Case number (if known)
                 First Name            Middle Name       Last Name



  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                      Total claim
previous page.

   4.6                                                                                                                    $150.00
Citibank/The Home Depot                                 Last 4 digits of account number9       0   3    4
Nonpriority Creditor's Name
Citicorp Credit Srvs/Centralized Bankrup                When was the debt incurred?05/2007
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
PO Box 790040                                              Contingent
                                                           Unliquidated
                                                           Disputed
Saint Louis                    MO       63179
City                           State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                Student loans
  Debtor 1 only
                                                Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another       Other. Specify
  Check if this claim is for a community debt   Charge Account
Is the claim subject to offset?
    No
    Yes

   4.7                                                                                                                  $3,594.18
Credit Collection Services                              Last 4 digits of account number1       5   2    9
Nonpriority Creditor's Name
                                                        When was the debt incurred?
Two Wells Avenue
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Newton                         MA       02459
City                           State    ZIP Code
                                               Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                  Student loans
  Debtor 1 only                                   Obligations arising out of a separation agreement or divorce
  Debtor 2 only
                                                  that you did not report as priority claims
  Debtor 1 and Debtor 2 only                      Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                  Other. Specify
    Check if this claim is for a community debt   Bank Balance Overdraft Fees
Is the claim subject to offset?
    No
    Yes
Regarding: Wells Fargo Bank




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                            page 4
                              Case 16-20274-AJC             Doc 1      Filed 07/25/16         Page 24 of 60
Debtor 1         Monica                                  Andres                       Case number (if known)
                 First Name            Middle Name       Last Name



  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                      Total claim
previous page.

   4.8                                                                                                                  $4,977.00
Crest Financial Serv                                    Last 4 digits of account number2       3   6    1
Nonpriority Creditor's Name
15 West Scenic Pointe                                   When was the debt incurred?06/2014
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Salt Lake City                 UT       84020
City                           State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                Student loans
  Debtor 1 only
                                                Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another       Other. Specify
  Check if this claim is for a community debt   Lease
Is the claim subject to offset?
    No
    Yes

   4.9                                                                                                                  $1,722.00
First Data                                              Last 4 digits of account number1 0 0            0
Nonpriority Creditor's Name
                                                        When was the debt incurred?05/01/2014
1307 Walt Whitman Rd
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Melville                       NY       11747
City                           State    ZIP Code
                                               Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                  Student loans
  Debtor 1 only                                   Obligations arising out of a separation agreement or divorce
  Debtor 2 only
                                                  that you did not report as priority claims
  Debtor 1 and Debtor 2 only                      Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                  Other. Specify
    Check if this claim is for a community debt   Lease
Is the claim subject to offset?
    No
    Yes

  4.10                                                                                                                    $574.00
First Premier Bank                                      Last 4 digits of account number0       4   6    3
Nonpriority Creditor's Name
601 S Minnesota Ave                                     When was the debt incurred?03/2014
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Sioux Falls                    SD       57104
City                           State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                Student loans
  Debtor 1 only
                                                Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another       Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes


Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                            page 5
                              Case 16-20274-AJC             Doc 1      Filed 07/25/16         Page 25 of 60
Debtor 1         Monica                                  Andres                       Case number (if known)
                 First Name            Middle Name       Last Name



  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                      Total claim
previous page.

  4.11                                                                                                                 $10,363.30
Frontier Airlines                                       Last 4 digits of account number1       6   0    7
Nonpriority Creditor's Name
PO Box 23066                                            When was the debt incurred?
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Columbus                       GA       31902
City                           State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                Student loans
  Debtor 1 only
                                                Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another       Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

  4.12                                                                                                                $271,243.00
Navient                                                 Last 4 digits of account number0 6         0    3
Nonpriority Creditor's Name
                                                        When was the debt incurred?06/2005
Po Box 9500
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Wilkes Barre                   PA       18773
City                           State    ZIP Code
                                               Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                  Student loans
  Debtor 1 only                                   Obligations arising out of a separation agreement or divorce
  Debtor 2 only
                                                  that you did not report as priority claims
  Debtor 1 and Debtor 2 only                      Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                  Other. Specify
    Check if this claim is for a community debt   Educational
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                            page 6
                              Case 16-20274-AJC             Doc 1      Filed 07/25/16         Page 26 of 60
Debtor 1         Monica                                  Andres                       Case number (if known)
                 First Name            Middle Name       Last Name



  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                    Total claim
previous page.

  4.13                                                                                                                $4,805.26
Snap Finance                                            Last 4 digits of account number
Nonpriority Creditor's Name
PO Box 26561                                            When was the debt incurred?04/07/2014
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Salt Lake City                 UT       84126
City                           State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                Student loans
  Debtor 1 only
                                                Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another       Other. Specify
  Check if this claim is for a community debt   Equipment Lease
Is the claim subject to offset?
    No
    Yes
Finance Lease 1404070087MS


  4.14                                                                                                               $26,922.30
Swift Capital                                           Last 4 digits of account number2 5 6 3
Nonpriority Creditor's Name
                                                        When was the debt incurred?
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
City                           State    ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Swift Financial Corporation
Is the claim subject to offset?
    No
    Yes
Case # 2015-16276 CA 01




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                          page 7
                              Case 16-20274-AJC                      Doc 1         Filed 07/25/16              Page 27 of 60
Debtor 1        Monica                                           Andres                              Case number (if known)
                First Name                 Middle Name           Last Name



  Part 3:         List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or
       2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified


Ido J Alexander, Esq.                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1401 N. Brickell Avenue Suite 420                                  Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Number        Street
                                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number
Miami                              FL         33131
City                               State      ZIP Code



Jerry M Dale, Esquire                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Law Offices of Jerry M Dale, PA                                    Line      4.2 of (Check one):            Part 1: Creditors with Priority Unsecured Claims
Number        Street
8370 West Flager Street, Suite 252                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number
Miami                              FL         33144
City                               State      ZIP Code



Mateer Harbert Attorneys at Law                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Two Landmark Center,                                               Line      4.2 of (Check one):            Part 1: Creditors with Priority Unsecured Claims
Number        Street
225 East Robinswon Street Suite 600                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number
Orlando                            FL         32802
City                               State      ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 8
                              Case 16-20274-AJC                 Doc 1        Filed 07/25/16             Page 28 of 60
Debtor 1       Monica                                       Andres                             Case number (if known)
               First Name             Middle Name           Last Name



 Part 4:         Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.



                                                                                                                    Total claim
Total claims         6a. Domestic support obligations                                                        6a.                  $0.00
from Part 1

                     6b. Taxes and certain other debts you owe the government                                6b.                  $0.00

                     6c. Claims for death or personal injury while you were intoxicated                      6c.                  $0.00

                     6d. Other. Add all other priority unsecured claims. Write that amount here.6d. +                             $0.00


                     6e. Total. Add lines 6a through 6d.                                                     6d.                  $0.00




                                                                                                                    Total claim
Total claims         6f. Student loans                                                                       6f.                  $0.00
from Part 2

                     6g. Obligations arising out of a separation agreement or divorce                        6g.                  $0.00
                            that you did not report as priority claims

                     6h. Debts to pension or profit-sharing plans, and other similar                         6h.                  $0.00
                            debts

                     6i. Other. Add all other nonpriority unsecured claims. Write that amount here.
                                                                                               6i. +                        $366,964.78


                     6j. Total. Add lines 6f through 6i.                                                     6j.            $366,964.78




Official Form 106E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 9
                             Case 16-20274-AJC                    Doc 1           Filed 07/25/16            Page 29 of 60
 Fill in this information to identify your case:
 Debtor 1             Monica                                          Andres
                      First Name              Middle Name             Last Name


 Debtor 2
 (Spouse, if filing)First Name                Middle Name             Last Name


                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
 Case number                                                                                                                     Check if this is an
 (if known)
                                                                                                                                 amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this


1.   Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this f
                                                                                   Schedule
            Yes. Fill in all of the information below even if the contracts or leases        A/B: on
                                                                                      are listed  Property
                                                                                                        (Official Form 106A/B).
2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone).
                                                      See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                       page 1
                                Case 16-20274-AJC                Doc 1           Filed 07/25/16           Page 30 of 60
     Fill in this information to identify your case:
     Debtor 1            Monica                                      Andres
                         First Name          Middle Name             Last Name


     Debtor 2
     (Spouse, if filing)First Name           Middle Name             Last Name


                                         SOUTHERN DISTRICT OF FLORIDA
     United States Bankruptcy Court for the:
     Case number                                                                                                            Check if this is an
     (if known)
                                                                                                                            amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible.
If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to



1.      Do you have any codebtors?(If you are filing a joint case, do not list either spouse as a codebtor.)
              No
              Yes

2.      Within the last 8 years, have you lived in a community property state or territory?
                                                                                   (Community property states and territories
        include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No. Go to line 3.
             Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes
3.      In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
        person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
        creditor onSchedule D(Official Form 106D),Schedule E/F(Official Form 106E/F), Schedule
                                                                                      or       G(Official Form 106G). Use
        Schedule D, Schedule E/F, or Schedule  toGfill out Column 2.

            Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt

                                                                                                  Check all schedules that apply:




Official Form 106H                                           Schedule H: Your Codebtors                                                           page 1
                               Case 16-20274-AJC                     Doc 1          Filed 07/25/16               Page 31 of 60
  Fill in this information to identify your case:
     Debtor 1                  Monica                                           Andres
                               First Name             Middle Name               Last Name
                                                                                                                  Check if this is:
     Debtor 2                                                                                                          An amended filing
     (Spouse, if filing)       First Name             Middle Name               Last Name

                                                                                                                       A supplement showing postpetition
                                          SOUTHERN DISTRICT OF FLORIDA
     United States Bankruptcy Court for the:
                                                                                                                       chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include
information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write


  Part 1:         Describe Employment
1.    Fill in your employment
      information.                                                     Debtor 1                                          Debtor 2 or non-filing spouse
      If you have more than
      one                                   Employment status                 Employed                                           Employed
      job, attach a separate                                                  Not employed                                       Not employed
      page
      with information about                Occupation                 Podiatrist
      additional employers.
                                            Employer's name            Dr. Monica Andres, DPM PA
      Include part-time,
      seasonal,                             Employer's address 825 SW 87 Ave Ste 1
      or self-employed work.                                           Number    Street                                  Number    Street




                                                                       Miami                       FL      33174
                                                                       City                        State   Zip Code      City                   State   Zip Code


                                            How long employed there? 6 months


  Part 2:         Give Details About Monthly Income
Estimate monthly income as of the date you file this form.
                                                     If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
lines below. If

                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse

2.    List monthly gross wages, salary, and commissions   (before all      2.                              $900.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                               3. +              $0.00

4.    Calculate gross income.
                            Add line 2 + line 3.                                            4.             $900.00




Official Form 106I                                                  Schedule I: Your Income                                                                 page 1
                                Case 16-20274-AJC                           Doc 1           Filed 07/25/16                  Page 32 of 60
Debtor 1 Monica                                                             Andres                                        Case number (if known)
           First Name                       Middle Name                     Last Name


                                                                                                             For Debtor 1                   For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                    4.               $900.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                5a.                $0.00
     5b. Mandatory contributions for retirement plans                                                 5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                 5c.                $0.00
     5d. Required repayments of retirement fund loans                                                 5d.                $0.00
     5e. Insurance                                                                                    5e.                $0.00
     5f. Domestic support obligations                                                                 5f.                $0.00
     5g. Union dues                                                                                   5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                    5h.+               $0.00
6.   Add the payroll deductions.Add lines 5a + 5b + 5c + 5d + 5e + 5f +6.                                                $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.Subtract line 6 from line 4. 7.                                            $900.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating                                           8a.                $0.00
           a
           Attach a statement for each property and business
           showing
           gross receipts, ordinary and necessary business

     8b. Interest and dividends                                                                       8b.                $0.00
     8c. Family support payments that you, a non-filing spouse, or                                    8c.                $0.00
           a
           Include alimony, spousal support, child support,
           maintenance,

     8d. Unemployment compensation                                                                    8d.                $0.00
     8e. Social Security                                                                              8e.                $0.00
     8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) or any
           non-
           cash assistance that you receive, such as food stamps
           (benefits under the Supplemental Nutrition Assistance
           Specify:                                                                                   8f.                $0.00
     8g. Pension or retirement income                                                                 8g.                $0.00
     8h. Other monthly income.
         Specify:                                                                                     8h.+               $0.00

9.   Add all other income.
                         Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.
                                                                       9.                                                $0.00

10. Calculate monthly income.    Add line 7 + line 9.                     10.                                         $900.00         +                    =         $900.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates,
     and other
     friends or relatives.



     Specify:                                                                                                                                         11. +            $0.00

12. Add the amount in the last column of line 10 to the amount in line
                                                                   The 11.
                                                                         result is the combined monthly 12.                                                          $900.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                              Combined
                                                                                                                                                                monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.

        Yes. Explain:



Official Form 106I                                                        Schedule I: Your Income                                                                      page 2
                                 Case 16-20274-AJC                  Doc 1      Filed 07/25/16             Page 33 of 60
 Fill in this information to identify your case:
                                                                                                            Check if this is:
     Debtor 1                Monica                                        Andres                              An amended filing
                             First Name              Middle Name           Last Name
                                                                                                               A supplement showing postpetition
     Debtor 2                                                                                                  chapter 13 expenses as of the
     (Spouse, if filing)     First Name              Middle Name           Last Name                           following date:

                                          SOUTHERN DISTRICT OF FLORIDA
     United States Bankruptcy Court for the:                                                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                      No
      Do not list Debtor 1 and                     Yes. Fill out this information Dependent's relationship to Dependent's Does dependent
                                                                                      Debtor 1 or Debtor 2
                                                   for each dependent...................................      age         live with you?
      Debtor 2.
                                                                                                                               No
                                                                                                                               Yes
      Do not state the
      dependents' names.
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                          No
      expenses of people other than
                                                        Yes
      yourself and your dependents?




 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13
case to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the
top of the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                         Your expenses

4.    The rental or home ownership expenses for your residence.                                                         4.                     $300.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                             4a.

      4b. Property, homeowner's, or renter's insurance                                                                  4b.

      4c. Home maintenance, repair, and upkeep expenses                                                                 4c.                     $50.00

      4d. Homeowner's association or condominium dues                                                                   4d.


 Official Form 106J                                                Schedule J: Your Expenses                                                        page 1
                            Case 16-20274-AJC                   Doc 1         Filed 07/25/16    Page 34 of 60
Debtor 1 Monica                                                  Andres                        Case number (if known)
           First Name                 Middle Name                Last Name


                                                                                                                 Your expenses

5.    Additional mortgage payments for your residence,
                                                  such as home equity loans                                5.
6.    Utilities:
      6a. Electricity, heat, natural gas                                                                   6a.

      6b. Water, sewer, garbage collection                                                                 6b.

      6c. Telephone, cell phone, Internet, satellite, and                                                  6c.                   $200.00
          cable services
      6d. Other. Specify:                                                                                  6d.


7.    Food and housekeeping supplies                                                                       7.                    $500.00
8.    Childcare and children's education costs                                                             8.

9.    Clothing, laundry, and dry cleaning                                                                  9.                    $150.00
10. Personal care products and services                                                                    10.

11. Medical and dental expenses                                                                            11.                   $100.00

12. Transportation.Include gas, maintenance, bus or train                                                  12.                   $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                   $200.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                  15a.

      15b. Health insurance                                                                                15b.

      15c. Vehicle insurance                                                                               15c.

      15d. Other insurance. Specify:                                                                       15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                      17a.                  $479.45
      17b. Car payments for Vehicle 2                                                                      17b.

      17c. Other. Specify:                                                                                 17c.

      17d. Other. Specify:                                                                                 17d.

18.   Your payments of alimony, maintenance, and support that you did not report as                        18.
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).



19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
      20a. Mortgages on other property                                                                     20a.

      20b. Real estate taxes                                                                               20b.

      20c. Property, homeowner's, or renter's insurance                                                    20c.

      20d. Maintenance, repair, and upkeep expenses                                                        20d.

      20e. Homeowner's association or condominium dues                                                     20e.


 Official Form 106J                                           Schedule J: Your Expenses                                            page 2
                            Case 16-20274-AJC                       Doc 1         Filed 07/25/16           Page 35 of 60
Debtor 1 Monica                                                     Andres                                Case number (if known)
         First Name                    Middle Name                  Last Name


21. Other. Specify:                                                                                                   21.
                                                                                                                             +
22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                                      22a.          $2,229.45

    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                             22b.
    22c. Add line 22a and 22b. The result is your monthly expenses.                                                   22c.          $2,229.45


23. Calculate your monthly net income.

    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                 23a.            $900.00
    23b. Copy your monthly expenses from line 22c above.                                                              23b. –        $2,229.45

    23c. Subtract your monthly expenses from your monthly income.
         The result is your monthly net income.                                                                       23c.         ($1,329.45)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage


         No.
         Yes. Explain here:
                None.




 Official Form 106J                                              Schedule J: Your Expenses                                              page 3
                              Case 16-20274-AJC                        Doc 1           Filed 07/25/16               Page 36 of 60
 Fill in this information to identify your case:
 Debtor 1              Monica                                              Andres
                       First Name                Middle Name               Last Name


 Debtor 2
 (Spouse, if filing)First Name                   Middle Name               Last Name


                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
 Case number                                                                                                                            Check if this is an
 (if known)
                                                                                                                                        amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended



 Part 1:         Summarize Your Assets

                                                                                                                                                  Your assets
                                                                                                                                                  Value of what you own
1.   Schedule A/B: Property
                         (Official Form 106A/B)
                                                                                                                                                         $15,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................

                                                                                                                                                    $45,662.00
     1b. Copy line 62, Total personal property, from Schedule A/B.......................................................................................................................


                                                                                                                                                          $60,662.00
     1c. Copy line 63, Total of all property on Schedule A/B.................................................................................................................................


 Part 2:         Summarize Your Liabilities

                                                                                                                                                    Your liabilities
                                                                                                                                                    Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property(Official Form 106D)
                                                                                                                          $39,455.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims  (Official Form 106E/F)
                                                                                                                                              $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................................................


                                                                                                                   +             $366,964.78
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................


                                                                                                                   Your total liabilities                    $406,419.78




 Part 3:         Summarize Your Income and Expenses

4.   Schedule I: Your Income
                           (Official Form 106I)
                                                                                                                                                       $900.00
     Copy your combined monthly income from line 12 of Schedule I.....................................................................................................................

5.   Schedule J: Your Expenses
                             (Official Form 106J)
                                                                                                                                                        $2,229.45
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1
                           Case 16-20274-AJC            Doc 1      Filed 07/25/16          Page 37 of 60
Debtor 1      Monica                                 Andres                       Case number (if known)
              First Name         Middle Name         Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts.   Consumer debtsare those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts.  You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From theStatement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11;
                                OR, Form 122B Line 11;
                                                    OR, Form 122C-1 Line 14.                                                   $0.00


9.   Copy the following special categories of claims from Part 4, line
                                                                    Schedule
                                                                       6 of  E/F:

                                                                                                  Total claim

     From Part 4 onSchedule E/F,copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                          $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                        $0.00


     9d. Student loans. (Copy line 6f.)                                                                         $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                $0.00
         priority claims. (Copy line 6g.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)   +                 $0.00


     9g. Total. Add lines 9a through 9f.                                                                        $0.00




Official Form 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                          page 2
                            Case 16-20274-AJC                    Doc 1           Filed 07/25/16              Page 38 of 60
 Fill in this information to identify your case:
 Debtor 1            Monica                                          Andres
                     First Name              Middle Name             Last Name


 Debtor 2
 (Spouse, if filing)First Name               Middle Name             Last Name


                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
 Case number                                                                                                              Check if this is an
 (if known)
                                                                                                                          amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                              12/15

If two married people are filing together, both are equally responsible for supplying correct information.


You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                 Sign Below

     Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No

            Yes. Name of person                                                                          Attach Bankruptcy Petition Preparer's Notice,
                                                                                                         Declaration, and Signature
                                                                                                                                  (Official Form 119).




     Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they
     are



     X /s/ Monica Andres                                           X
           Signature of Debtor 1                                       Signature of Debtor 2

           Date 07/25/2016                                             Date
                MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                                page 1
                            Case 16-20274-AJC                   Doc 1           Filed 07/25/16          Page 39 of 60
 Fill in this information to identify your case:
 Debtor 1            Monica                                         Andres
                     First Name             Middle Name             Last Name


 Debtor 2
 (Spouse, if filing)First Name              Middle Name             Last Name


                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
 Case number                                                                                                              Check if this is an
 (if known)
                                                                                                                          amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,


 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
       Married
       Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
        No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1             Debtor 2:                                      Dates Debtor 2
                                                           lived there                                                               lived there

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories
                                            include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out
                                  Schedule H: Your Codebtors
                                                          (Official Form 106H).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
                                 Case 16-20274-AJC                        Doc 1          Filed 07/25/16                 Page 40 of 60
Debtor 1            Monica                                            Andres                                 Case number (if known)
                    First Name               Middle Name              Last Name


 Part 2:              Explain the Sources of Your Income
4.      Did you have any income from employment or from operating a business during this year or the two previous calendar years?
        Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
        If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


             No
             Yes. Fill in the details.

                                                              Debtor 1                                                      Debtor 2

                                                            Sources of income                  Gross income       Sources of income                 Gross income
                                                            Check all that apply.              (before deductions Check all that apply.             (before deductions
                                                                                               and exclusions                                       and exclusions

From January 1 of the current year                               Wages,                                  $4,551.00           Wages,
until                                                            commissions,                                                commissions,

                                                                 Operating a business                                        Operating a business


For the last calendar year:                                      Wages,                                $44,940.20            Wages,
                                                                 commissions,                                                commissions,
(January 1 to December 31,2015 )
                                      YYYY                       Operating a business                                        Operating a business


For the calendar year before that:                               Wages,                                $68,599.00            Wages,
                                                                 commissions,                                                commissions,
(January 1 to December 31,2014 )
                                      YYYY                       Operating a business                                        Operating a business

5.      Did you receive any other income during this year or the two previous calendar years?
        Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social
        Security;
        unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from
        lawsuits; royalties;
        and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only
        once under

             No
             Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
                             Case 16-20274-AJC                        Doc 1          Filed 07/25/16                Page 41 of 60
Debtor 1       Monica                                             Andres                                Case number (if known)
               First Name                Middle Name              Last Name


 Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
         No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts.     Consumer debtsare defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                      No. Go to line 7.

                      Yes.   List below each creditor to whom you paid a total of $6,225* or more in one or more
                             payments and the
                             total amount you paid that creditor. Do not include payments for domestic support

                  * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes.   List below each creditor to whom you paid a total of $600 or more and the total amount you
                             paid that
                             creditor. Do not include payments for domestic support obligations, such as child support


                                                     Dates of       Total amount      Amount you         Was this payment for...
                                                     payment        paid              stil owe
7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insidersinclude your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and
     any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic


         No
         Yes. List all payments to an insider.

                                                                  Dates of          Total amount            Amount you                Reason for this payment
                                                                  payment           paid                    still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

         No
         Yes. List all payments that benefited an insider.

                                                                  Dates of          Total amount            Amount you                Reason for this payment
                                                                  payment           paid                    still owe                 Include creditor's name




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 3
                               Case 16-20274-AJC                        Doc 1           Filed 07/25/16                Page 42 of 60
Debtor 1          Monica                                             Andres                                Case number (if known)
                  First Name              Middle Name                Last Name


 Part 4:            Identify Legal Actions, Repossessions, and Foreclosures
9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions,
      support or custody


              No
              Yes. Fill in the details.

                                                Nature of the case                                   Court or agency                  Status of the case
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

              No. Go to line 11.
              Yes. Fill in the information below.

11.   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
      amounts from your accounts or refuse to make a payment because you owed a debt?

              No
              Yes. Fill in the details.

12.   Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit
      of

              No
              Yes

 Part 5:            List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

              No
              Yes. Fill in the details for each gift.
14.   Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than
      $600


              No
              Yes. Fill in the details for each gift or contribution.

 Part 6:            List Certain Losses
15.   Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft,
      fire,

              No
              Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
                               Case 16-20274-AJC                       Doc 1         Filed 07/25/16               Page 43 of 60
Debtor 1          Monica                                           Andres                               Case number (if known)
                  First Name               Middle Name             Last Name


  Part 7:              List Certain Payments or Transfers
16.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property
       to

       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

              No
              Yes. Fill in the details.

                                                           Description and value of any property transferredDate payment    Amount of
Investors' Law Group, LLC                                                                                   or transfer was payment
Person Who Was Paid                                                                                         made
2655 Le Jeune Road                                                                                                                   01/21/2016   $1,800.00
Number        Street

PHI-D

Coral Gables                       FL        33134
City                               State     ZIP Code


Email or website address



Person Who Made the Payment, if Not You


17.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property
       to

       Do not include any payment or transfer that you listed on line 16.

              No
              Yes. Fill in the details.

18.    Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other
       than
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your
       property).


              No
              Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
       No
       Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5
                              Case 16-20274-AJC                       Doc 1          Filed 07/25/16               Page 44 of 60
Debtor 1       Monica                                              Andres                               Case number (if known)
               First Name                Middle Name               Last Name


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20.   Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
      benefit, closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage

          No
          Yes. Fill in the details.

21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
      for securities, cash, or other valuables?

          No
          Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:          Identify Property You Hold or Control for Someone Else
23.   Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.

          No
          Yes. Fill in the details.


 Part 10:         Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material
                   means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.   Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an
      environmental


          No
          Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 6
                             Case 16-20274-AJC                   Doc 1       Filed 07/25/16             Page 45 of 60
Debtor 1        Monica                                       Andres                           Case number (if known)
                First Name              Middle Name          Last Name

26.   Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements
      and

            No
            Yes. Fill in the details.

 Part 11:         Give Details About Your Business or Connections to Any Business
27.   Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
      business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
28.   Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business?
      Include

            No
            Yes. Fill in the details below.

 Part 12:         Sign Below
I have read the answers on this
                            Statement of Financial Affairs
                                                       and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years,




X /s/ Monica Andres                                          X
   Signature of Debtor 1                                         Signature of Debtor 2

   Date         07/25/2016                                       Date

Did you attach additional pagesYour
                                to Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                (Official Form 107)?

      No
      Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

      No
      Yes. Name of person                                                                            Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                     Declaration, and Signature(Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
                             Case 16-20274-AJC                    Doc 1           Filed 07/25/16           Page 46 of 60
 Fill in this information to identify your case:
 Debtor 1             Monica                                          Andres
                      First Name              Middle Name             Last Name


 Debtor 2
 (Spouse, if filing)First Name                Middle Name             Last Name


                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
 Case number                                                                                                                             Check if this is an
 (if known)
                                                                                                                                         amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or
     you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.


If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.


Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:        List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part Schedule
                                                1 of     D: Creditors Who Hold Claims Secured by Property
                                                                                                    (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral What do you intend to do with the                             Did you claim the property
                                                                property that secures a debt?                                 as exempt on Schedule C?

      Creditor's        Santander Consumer Usa                                     Surrender the property.                         No
      name:                                                                        Retain the property and redeem it.              Yes
      Description of    2006 Mercedes                                              Retain the property and enter into a
      property                                                                     Reaffirmation Agreement.
      securing debt:                                                               Retain the property and [explain]:


      Creditor's        Timepayment Corp Llc                                       Surrender the property.                         No
      name:                                                                        Retain the property and redeem it.              Yes
      Description of                                                               Retain the property and enter into a
      property                                                                     Reaffirmation Agreement.
      securing debt:                                                               Retain the property and [explain]:




Official Form 108                        Statement of Intention for Individuals Filing Under Chapter 7                                              page 1
                         Case 16-20274-AJC            Doc 1       Filed 07/25/16       Page 47 of 60
Debtor 1    Monica                                Andres                       Case number (if known)
            First Name         Middle Name        Last Name



 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed Schedule
                                                              in    G: Executory Contracts and Unexpired Leases  (Official Form 106G),
fill in the information below. Do not list real estate leases.
                                                         Unexpired leases
                                                                        are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                 Will this lease be assumed?

    None.


 Part 3:      Sign Below

  Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
  personal property that is subject to an unexpired lease.

X /s/ Monica Andres                               X
  Signature of Debtor 1                               Signature of Debtor 2

  Date 07/25/2016                                     Date
       MM / DD / YYYY                                         MM / DD / YYYY




Official Form 108                Statement of Intention for Individuals Filing Under Chapter 7                              page 2
                          Case 16-20274-AJC                  Doc 1   Filed 07/25/16          Page 48 of 60




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



   This notice is for you if:
                                                                       Chapter 7: Liquidation

      You are an individual filing for bankruptcy,
      and                                                                       $245     filing fee
                                                                                 $75     administrative fee
      Your debts are primarily consumer debts.                                   $15     trustee surcharge
                                                                       +
      Consumer debts are defined in 11 U.S.C. § 101(8)                          $335     total fee
      as "incurred by an individual primarily for a
      personal, family, or household purpose."
                                                                       Chapter 7 is for individuals who have financial difficulty
                                                                       preventing them from paying their debts and who are
                                                                       willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                             pay their creditors. The primary purpose of filing under
                                                                       chapter 7 is to have your debts discharged. The
to individuals
                                                                       bankruptcy discharge relieves you after bankruptcy from
                                                                       having to pay many of your pre-bankruptcy debts.
                                                                       Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                       property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                       example, a creditor may have the right to foreclose a
                                                                       home mortgage or repossess an automobile.
     Chapter 7 -- Liqudation
                                                                       However, if the court finds that you have committed
     Chapter 11 -- Reorganization                                      certain kinds of improper conduct described in the
                                                                       Bankruptcy Code, the court may deny your discharge.
     Chapter 12     -- Voluntary repayment plan for family
                      farmers or fishermen                             You should know that the even if you file chapter 7 and
                                                                       you receive a discharge, some debts are not discharged
                                                                       under the law. Therefore, you may still be responsible to
     Chapter 13 -- Voluntary repayment plan for                        pay:
                      individuals with regular income

                                                                              most taxes;
You should have an attorney review your
                                                                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                                   domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                             page 1
                            Case 16-20274-AJC                   Doc 1   Filed 07/25/16           Page 49 of 60




     most fines, penalties, forfeitures, and criminal                     for your state of residence and family size, depending
     restitution obligations; and                                         on the results of theMeans Test,the U.S. trustee,
                                                                          bankruptcy administrator, or creditors can file a motion to
     certain debts that are not listed in your bankruptcy                 dismiss your case under § 707(b) of the Bankruptcy
     papers.                                                              Code. If a motion is filed, the court will decide if your
                                                                          case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:                       choose to proceed under another chapter of the
                                                                          Bankruptcy Code.
     fraud or theft;
                                                                          If you are an individual filing for chapter 7 bankruptcy, the
     fraud or defalcation while acting in breach of fiduciary
                                                                          trustee may sell your property to pay your debts, subject
     capacity;
                                                                          to your right to exempt the property or a portion of the
                                                                          proceeds from the sale of the property. The property,
     intentional injuries that you inflicted; and                         and the proceeds from property that your bankruptcy
     death or personal injury caused by operating a motor                 trustee sells or liquidates that you are entitled to, is
     vehicle, vessel, or aircraft while intoxicated from                  called exempt property. Exemptions may enable you to
     alcohol or drugs.                                                    keep your home, a car, clothing, and household items or
                                                                          to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have                     Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You                    must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly                     Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing             property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine                  proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.


If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
                                                                          Chapter 11: Reorganization
the Chapter 7 Means Test Calculation(Official Form                               $1,167      filing fee
122A-2).                                                                           $550      administrative fee
                                                                          +
If your income is above the median for your state, you must                      $1,717      total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--                    Chapter 11 is often used for reorganizing a business, but
sometimes called theMeans Test--deduct from your                          is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to                   11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 2
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         Read These Important Warnings

         Because bankruptcy can have serious long-term financial and legal consequences, including loss of
         your property, you should hire an attorney and carefully consider all of your options before you file.
         Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
         and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
         properly and protect you, your family, your home, and your possessions.


         Although the law allows you to represent yourself in bankruptcy court, you should understand that
         many people find it difficult to represent themselves successfully. The rules are technical, and a
         mistake or inaction may harm you. If you file without an attorney, you are still responsible for
         knowing and following all of the legal requirements.


         You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
         necessary documents.


         Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
         bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
         fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
         to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                                                               Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                                  repay your creditors all or part of the money that you owe
            or fishermen                                                       them, usually using your future earnings. If the court
                                                                               approves your plan, the court will allow you to repay your
                                                                               debts, as adjusted by the plan, within 3 years or 5 years,
         $200     filing fee                                                   depending on your income and other factors.
           $75    administrative fee
+
                                                                               After you make all the payments under your plan, many
         $275     total fee
                                                                               of your debts are discharged. The debts that are not
                                                                               discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                               include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                                       domestic support obligations,
                                                                                    most student loans,
                                                                                    certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                                          debts for fraud or theft,
                                                                                    debts for fraud or defalcation while acting in a
                                                                                    fiduciary capacity,
             $235     filing fee
                $75   administrative fee
    +                                                                               most criminal fines and restitution obligations,
             $310     total fee
                                                                                    certain debts that are not listed in your bankruptcy
                                                                                    papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                                    certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                                    injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.
                                                                                    certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                     page 3
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                                                                          A married couple may file a bankruptcy case together--
   Warning: File Your Forms on Time                                       called a joint case. If you file a joint case and each
                                                                          spouse lists the same mailing address on the
   Section 521(a)(1) of the Bankruptcy Code requires                      bankruptcy petition, the bankruptcy court generally will
   that you promptly file detailed information about                      mail you and your spouse one copy of each notice,
   your creditors, assets, liabilities, income, expenses                  unless you file a statement with the court asking that
   and general financial condition. The court may                         each spouse receive separate copies.
   dismiss your bankruptcy case if you do not file this
   information within the deadlines set by the
   Bankruptcy Code, the Bankruptcy Rules, and local
   rules of the court.                                                    Understand which services you could
                                                                          receive from credit counseling agencies
   For more information about the documents and
   their deadlines, go to:
                                                                          The law generally requires that you receive a credit
   http://www.uscourts.gov/bkforms/bankruptcy_forms                       counseling briefing from an approved credit counseling
   .html#procedure.                                                       agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                          case, both spouses must receive the briefing. With
                                                                          limited exceptions, you must receive it within the 180
                                                                          days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                            briefing is usually conducted by telephone or on the
consequences                                                              Internet.


     If you knowingly and fraudulently conceal assets or                  In addition, after filing a bankruptcy case, you generally
     make a false oath or statement under penalty of                      must complete a financial management instructional
     perjury--either orally or in writing--in connection with             course before you can receive a discharge. If you are
     a bankruptcy case, you may be fined, imprisoned, or                  filing a joint case, both spouses must complete the
     both.                                                                course.


                                                                          You can obtain the list of agencies approved to provide
     All information you supply in connection with a                      both the briefing and the instructional course from:
     bankruptcy case is subject to examination by the
     Attorney General acting through the Office of the                    http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
     U.S. Trustee, the Office of the U.S. Attorney, and
     other offices and employees of the U.S. Department                   In Alabama and North Carolina, go to:
     of Justice.
                                                                          http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                          ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                                   If you do not have access to a computer, the clerk of the
                                                                          bankruptcy court may be able to help you obtain the list.

The bankruptcy court sends notices to the mailing address
you list onVoluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                page 4
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B2030 (Form 2030) (12/15)

                                                        UNITED STATES BANKRUPTCY COURT
                                                         SOUTHERN DISTRICT OF FLORIDA
                                                                  MIAMI DIVISION
In re    Monica Andres                                                                                                         Case No.

                                                                                                                               Chapter           7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
     that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
     services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
     is as follows:


     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                             $1,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $1,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                  $0.00

2. The source of the compensation paid to me was:
                      Debtor                                   Other (specify)

3. The source of compensation to be paid to me is:
                      Debtor                                   Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.



5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:


     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;


     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;


     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)


6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.




                        07/25/2016                                  /s/ Francisco J. Aguero, Esq.
                           Date                                     Francisco J. Aguero, Esq.                          Bar No. 192562
                                                                    Investors' Law Group, LLC
                                                                    2655 Le Jeune Road
                                                                    PHI-D
                                                                    Coral Gables, FL 33134




    /s/ Monica Andres
   Monica Andres
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                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
  IN RE:   Monica Andres                                                         CASE NO

                                                                                CHAPTER     7

                                    VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/25/2016                                          Signature    /s/ Monica Andres
                                                                    Monica Andres



Date                                                    Signature
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             American Express
             PO Box 3001
             16 General Warren Blvd
             Malvern, PA 19355

             C.A.N. Capital Asset Servicing, Inc.




             Capital One
             Attn: Bankruptcy
             PO Box 30285
             Salt Lake City, UT 84130

             Capital One Bank (USA) N.A.
             P.O. Box 71083
             Charlotte, NC 28272-1083



             Citi Cards
             PO Box 9001037
             Lousville, KY 40290-1037



             Citibank/The Home Depot
             Citicorp Credit Srvs/Centralized Bankrup
             PO Box 790040
             Saint Louis, MO 63179

             Credit Collection Services
             Two Wells Avenue
             Newton, MA 02459



             Crest Financial Serv
             15 West Scenic Pointe
             Salt Lake City, UT 84020



             First Data
             1307 Walt Whitman Rd
             Melville, NY 11747
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             First Premier Bank
             601 S Minnesota Ave
             Sioux Falls, SD 57104



             Frontier Airlines
             PO Box 23066
             Columbus, GA 31902



             Ido J Alexander, Esq.
             1401 N. Brickell Avenue Suite 420
             Miami, Fl 33131



             Jerry M Dale, Esquire
             Law Offices of Jerry M Dale, PA
             8370 West Flager Street, Suite 252
             Miami, Fl 33144

             Mateer Harbert Attorneys at Law
             Two Landmark Center,
             225 East Robinswon Street Suite 600
             Orlando, FL 32802

             Navient
             Po Box 9500
             Wilkes Barre, PA 18773



             Santander Consumer Usa
             Po Box 961245
             Ft Worth, TX 76161



             Snap Finance
             PO Box 26561
             Salt Lake City, UT 84126



             Swift Capital
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             Timepayment Corp Llc
             16 New England Executive Office Park S.
             Burlington, MA 01803
                               Case 16-20274-AJC                     Doc 1           Filed 07/25/16            Page 58 of 60
 Fill in this information to identify your case:                                                           Check one box only as directed in this
                                                                                                           form and in Form 122A-1Supp:
 Debtor 1               Monica                                           Andres
                        First Name              Middle Name              Last Name                           1. There is no presumption of abuse.
 Debtor 2                                                                                                    2. The calculation to determine if a
 (Spouse, if filing)First Name                  Middle Name              Last Name                              presumption
                                                                                                                of abuse applies will be made under
                                     SOUTHERN DISTRICT OF FLORIDA
 United States Bankruptcy Court for the:
                                                                                                             3. The Means Test does not apply now
 Case number                                                                                                    because
 (if known)                                                                                                     of qualified military service but it could


                                                                                                               Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:          Calculate Your Current Monthly Income

1.   What is your marital and filing status?
                                         Check one only.

           Not married.Fill out Column A, lines 2-11.

           Married and your spouse is filing with you.
                                                   Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. You and your spouse are:

                  Living in the same household and are not legally separated.
                                                                       Fill out both Columns A and B, lines 2-11.
                  Living separately or are legally separated.
                                                         Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
                  declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that
                  applies or that you


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case.11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide
     the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental



                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                                          $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments.
                                   Do not include payments from a spouse                                         $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                                          $0.00
     expenses of you or your dependents, including child support.
                                                            Include
     regular contributions from an unmarried partner, members of your
     household,
     your dependents, parents, and roommates. Include regular
     contributions from




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                           page 1
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Debtor 1      Monica                                                     Andres                                     Case number (if known)
              First Name                    Middle Name                  Last Name



                                                                                                                         Column A             Column B
                                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                                              non-filing spouse

5.   Net income from operating a business, profession, or farm
                                                       Debtor 1                    Debtor 2

     Gross receipts (before all                                   $0.00
     deductions)
                                    –
     Ordinary and necessary operating                             $0.00        –
     expenses
                                                                                                         Copy
     Net monthly income from a business,                          $0.00                                  here                     $0.00
     profession, or farm

6.   Net income from rental and other real property
                                                       Debtor 1                    Debtor 2

     Gross receipts (before all                                   $0.00
     deductions)
                                    –
     Ordinary and necessary operating                             $0.00        –
     expenses
                                                                                                         Copy
     Net monthly income from rental or                            $0.00                                  here                     $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                           $0.00

8.   Unemployment compensation                                                                                                    $0.00

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                 $0.00
        For you............................................................................................................................

        For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                        $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above.
                                               Specify the source and
     amount. Do not include any benefits received under the Social
     Security Act
     or payments received as a victim of a war crime, a crime against
     humanity,




     Total amounts from separate pages, if any.                                                                    +                          +
11. Calculate your total current monthly income.
     Add lines 2 through 10 for each column.                                                                                      $0.00       +             =        $0.00
     Then add the total for Column A to the total for Column B.
                                                                                                                                                              Total current
                                                                                                                                                              monthly income




Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                              page 2
                            Case 16-20274-AJC                        Doc 1         Filed 07/25/16               Page 60 of 60
Debtor 1     Monica                                              Andres                                Case number (if known)
             First Name                Middle Name               Last Name



 Part 2:       Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year.
                                                  Follow these steps:

                                                                                                      Copy line 11 here                  12a.                  $0.00
    12a. Copy your total current monthly income from line 11....................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                           X       12

    12b. The result is your annual income for this part of the form.                                                                           12b.              $0.00

13. Calculate the median family income that applies toFollow
                                                      you. these steps:

    Fill in the state in which you live.                                      Florida

    Fill in the number of people in your household.                               1

                                                                                                                                                   $43,085.00
    Fill in the median family income for your state and size of household..............................................................................................................
                                                                                                                                       13.
    To find a list of applicable median income amounts, go online using the link specified in
    the separate


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, checkThere
                                                                                          box 1,is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box
                                                                              The2,
                                                                                  presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.

 Part 3:       Sign Below

     By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

     X     /s/ Monica Andres                                                               X
           Signature of Debtor 1                                                                Signature of Debtor 2

           Date 7/25/2016                                                                       Date
                MM / DD / YYYY                                                                         MM / DD / YYYY

     If you checked line 14a, do NOT fill out or file Form 122A-2.

     If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                                page 3
